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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HINDOLUI KENNIE,              :             CIVIL ACTION
                              :             NO. 19-733
          Petitioner,         :
     v.                       :
                              :
WARDEN OF GEORGE HILL         :
CORRECTIONAL FACILITY, et al.,:
                              :
          Respondents.        :


                                    ORDER

            AND NOW, this 20th day of October, 2020, upon

consideration of Hindolui Kennie’s Petition for Writ of Habeas

Corpus (ECF No. 1), the Respondents’ response in opposition (ECF

No. 24), and the Report and Recommendation of U.S. Magistrate

Judge Carol Sandra Moore Wells (ECF No. 27), it is hereby

ORDERED that:

            1. The Report and Recommendation is APPROVED and

               ADOPTED; 1

            2. The Petition for a Writ of Habeas Corpus is

               DISMISSED AS MOOT, without an evidentiary hearing; 2

               and


1     Petitioner was released from prison in February 2020, and it is not
clear whether he received a copy of the Report and Recommendation. However,
it is the Petitioner’s job to inform the court of any address change, and he
has not done so since his release in February. Consequently, there is no way
for the court to mail him a copy of the Report and Recommendation.
2     Petitioner complains about the amount of bail imposed for his 2018 case
and the delay in his final probation revocation hearing for his 2016 case. He
requests that the probation detainer for the 2016 case be rescinded. However,
Petitioner has already been convicted in the 2018 case and had his final
probation revocation hearing for the 2016 case. Furthermore, the detainer for
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            3. Petitioner has neither shown denial of a federal

               constitutional right, nor established that

               reasonable jurists would disagree with this court’s

               procedural disposition of his claims. Consequently,

               a certificate of appealability is DENIED.

            AND IT IS SO ORDERED.



                              _/s/ Eduardo C. Robreno___________
                              EDUARDO C. ROBRENO, J.




the 2016 case has expired. Consequently, this court cannot provide Petitioner
any relief and his claims are moot.

                                      2
